      Case: 1:20-cv-04335 Document #: 1-3 Filed: 07/23/20 Page 1 of 1 PageID #:20



                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


XYZ CORPORATION,

        PLAINTIFF,

V.
                                                       CIVIL ACTION NO.: 1:20-CV-04335
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”

        DEFENDANTS.



                 SCHEDULE A – SEALED DOCUMENT PURSUANT TO LR26.2
        Pursuant to Plaintiff’s Motion for Leave to File Documents under Seal, a full version of

Schedule “A” will be electronically-filed under seal and will remain under seal until further order

of this Court.



     Dated: July 23, 2020                            Respectfully submitted,

                                                     /s/ Ann Marie Sullivan
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